8:17-cr-00103-JMG-SMB        Doc # 103    Filed: 10/20/17   Page 1 of 2 - Page ID # 417




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                               8:17-CR-103

vs.                                             FINAL ORDER OF FORFEITURE

MICHAEL GARMAN,

                     Defendant.


      This matter is before the Court on the plaintiff's Motion for Final Order
of Forfeiture (filing 96). On August 14, 2017, the Court entered a Preliminary
Order of Forfeiture (filing 76) pursuant to 21 U.S.C. § 853, based upon the
defendant's   plea     of   guilty   to   possession   with    intent   to   distribute
methamphetamine in violation of 21 U.S.C. § 841, and his admission of the
forfeiture allegation contained in the indictment. Filing 68 at 4; filing 69 at 1;
filing 74 at 11. By way of the preliminary order of forfeiture, the defendant's
interest in $13,757 in United States currency was forfeited to the United
States. Filing 76.
      As directed by the order, a Notice of Criminal Forfeiture was posted
beginning on August 15, 2017, on an official Internet government forfeiture
site, www.forfeiture.gov, for at least 30 consecutive days, as required by
Supp. Admiralty and Maritime Claims R. G(4)(a)(iii)(B). A Declaration of
Publication (filing 95) was filed on October 17, 2017. The Court has been
advised by the plaintiff that no petitions have been filed, and from a review of
the Court file, the Court finds no petitions have been filed.
8:17-cr-00103-JMG-SMB    Doc # 103   Filed: 10/20/17     Page 2 of 2 - Page ID # 418




     IT IS ORDERED:


     1.    The plaintiff=s Motion for Final Order of Forfeiture (filing
           96) is granted.


     2.    All right, title, and interest in and to the $13,757 in United
           States currency held by any person or entity are forever
           barred and foreclosed.


     3.    The currency is forfeited to the plaintiff.


     4.    The plaintiff is directed to dispose of the currency in
           accordance with law.


     Dated this 20th day of October, 2017.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




                                     -2-
